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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00413-LY
             Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 WALGREEN CO.,

             Defendant.

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant Walgreen Co. in the within action WITHOUT PREJUDICE. Walgreen Co. has not

served an answer or a motion for summary judgment.

Dated: May 17, 2021                                  Respectfully submitted,

Together with:                                       KIZZIA & JOHNSON, PLLC

Andrew S. Curfman (Pro hac vice pending)             /s/ Jay Johnson
SAND, SEBOLT & WERNOW CO., LPA                       State Bar No. 24067322
Aegis Tower – Suite 1100                             KIZZIA JOHNSON PLLC
4940 Munson Street NW                                1910 Pacific Ave., Suite 13000
Canton, Ohio 44718                                   Dallas, Texas 75201
Telephone: (330) 244-1174                            (214) 451-0164
Facsimile: (330) 244-1173                            Fax: (214) 451-0165
Email: andrew.curfman@sswip.com                      jay@kjpllc.com

                                                     ATTORNEYS FOR PLAINTIFF
